Case 3:21-cr-30023-SPM Document1 Filed 02/24/21 Page 1of3 Page ID #1

FILED

IN THE UNITED STATES DISTRICT COURT FEB 2 4 2994
FOR THE SOUTHERN DISTRICT OF ILLINOIS , CLERK, u.s

UTHERN DI erect RICT Courr
UNITED STATES OF AMERICA,
Plaintiff,

)
)
5
vs. ) CRIMINAL NUMBER: 27 !-~30033-S r™M
)
)
)
)

KEVIN HUTCHINSON, Title 18,

United States Code,
Section 1001(2)

Defendant.
INDICTMENT
THE GRAND JURY CHARGES:
INTRODUCTION
At all times relevant to the Indictment:

1. KEVIN HUTCHINSON was the elected Mayor of the City of Columbia, Monroe
County, within the Southern District of Tlinois.

2. HUTCHINSON was also a licensed insurance agent who owned a closely held
Illinois corporation called B.M.C. Associates, Inc.

3. The City of Columbia provides health insurance coverage for its employees and
separately maintains property/casualty loss insurance. Unbeknownst to the city council or the city
manager, HUTCHINSON, and his corporation B.M.C. Associates, Inc., received referral
commissions from the insurance contracts that the City of Columbia placed with MRCT and
ICRMT.

4. As an elected municipal official and a public officer KEVIN HUTCHINSON was
prohibited, under the Ilinois Public Officer Prohibited Activities Act [65ILCS 5/3.1-55-10(a)],
from being financially interested, directly or indirectly, in any contract, work or business of the

municipality.

 
Case 3:21-cr-30023-SPM Document1 Filed 02/24/21 Page 2o0f3 Page ID #2

5. The Illinois Governmental Ethics Act required HUTCHINSON to truthfully
complete an annual Statement of Economic Interests and file it with the County Clerk. On June
28, 2018, KEVIN HUTCHINSON filed a false Statement of Economic Interests with the Monroe
County Clerk stating that he did not have a personal financial interest, directly or indirectly, in any
contract, work or business of the municipality.

6. The Southern Illinois Public Corruption Task Force consisted of agents with the
Federal Bureau of Investigation, Internal Revenue Service/Criminal Investigations, and a Task
Force Officer from the Illinois State Police. The Task Force opened a federal criminal investigation
to determine whether Columbia Mayor KEVIN HUTCHINSON had violated federal law after
learning that HUTCHINSON received insurance policy referral commissions for a health

insurance policy for the City of Columbia employees.

COUNT 1
FALSE STATEMENT TO THE FEDERAL METRO-EAST PUBLIC CORRUPTION TASK FORCE

1. The paragraphs of the Introduction are incorporated herein.

2. On or about March 20, 2019, affecting Monroe County within the Southern
District of Illinois, and elsewhere,

KEVIN HUTCHINSON,

defendant, did willfully and knowingly make, and cause to be made, materially false statements
and representations in a matter within the jurisdiction of a department or agency of the United
States by falsely telling a Federal Bureau of Investigation Special Agent and a federal Task
Force Officer that his only interest in MRCT’s contract with the City of Columbia was in his

official capacity as the Mayor of the City of Columbia. The statement was materially false in that

 
Case 3:21-cr-30023-SPM Document1 Filed 02/24/21 Page 30f3 Page ID #3

KEVIN HUTCHINSON had received referral commissions for City insurance_policies placed

with MRCT as well as from ICRMT.

All in violation of Title 18, United States Code, Section 1001(2).

 

EI

STEVEN D. WEINHOEFT
United States Attorney
Southern District of Illinois

comvka , det - : C

Assistant United States Attorney

Recommended bond: $20,000 unsecured.

 
